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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No.: 1:18-cv-01025-KLM

JUDITH BENKERT, individually and on behalf of all others similarly situated,

                      Plaintiff,

v.

GCI SOLAR LLC, a California limited liability company,

                      Defendant.


                         MOTION FOR ALTERNATIVE SERVICE


       Plaintiff Judith Benkert (“Benkert” or “Plaintiff”) hereby respectfully moves the Court

for an order permitting service of process upon Defendant GCI Solar LLC (“GCI” or

“Defendant”) to be made by hand-delivering a true and accurate copy of the Complaint,

Summons, and Civil Cover Sheet to the California Secretary of State in accordance with Cal.

Corp. Code § 17701.16 (West 2014). In support of this Motion, Plaintiff states as follows:

       1.      On May 2, 2018, Plaintiff filed the instant action alleging violations of the

Telephone Consumer Protection Act (“TCPA”), 42 U.S.C. § 227, et seq. (Dkt. 1.)

       2.      Cal. Corp. Code § 17701.16 provides for alternative service upon a limited

liability company by delivering by hand to the Secretary of State when a Court finds, supported

by affidavit, that the designated agent for service of process cannot be found with reasonable

diligence and issues an order stating as such. See Cal. Corp. Code § 17701.16(c).
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       3.      Here, Defendant’s registered agent’s designated address for service of process is

15261 Connector Lane, Huntington Beach, California 92649. (See California Statement of

Information, a true and accurate copy is attached hereto as Ex. A.)

       4.      Plaintiff unsuccessfully attempted service at the Huntington Beach address on

each of the following dates: May 4, 2018 and May 8, 2018. (See Huntington Beach Affidavit of

Non-Service, a true and accurate copy is attached hereto as Ex. B.)

       5.      Plaintiff was informed that Defendant’s Huntington Beach location appeared to be

vacated. (See Id.)

       6.      On May 16, 2018, Plaintiff attempted service at an alternative business address,

2629 East Jensen Ave., Fresno, California 93706, which was listed on Defendant’s website. (See

Fresno Affidavit of Non-Service, a true and accurate copy is attached hereto as Ex. C.)

       7.      Defendant’s Fresno location likewise appears to be vacant. (See Id.)

       8.      Thereafter, Plaintiff located Defendant’s registered agent’s home address, 5731

John Chaffey Circle, Garden Grove, California 92845.

       9.      Plaintiff again, on June 2, 2018, unsuccessfully attempted to serve Defendant at

this final address. (See Garden Grove Affidavit of Non-Service, a true and accurate copy is

attached hereto as Ex. D.)

       10.     Despite repeated service attempts, Plaintiff has been unable to effectuate service

upon Defendant.

       11.     As detailed above and supported by affidavit, Plaintiff has made reasonable and

diligent attempts to serve Defendant and has been unable to complete service. Therefore, in

accordance with Cal. Corp. Code § 17701.16(c), Plaintiff moves this Court to issue an order




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permitting alternative service by way of serving process upon the California Secretary of State as

Defendant’s agent.

        WHEREFORE, Plaintiff respectfully requests that the Court grant the present motion

and issue an order allowing Plaintiff to serve process upon Defendant by means of service upon

California’s Secretary of State, and for such additional relief as the Court deems necessary and

just.

          *              *               *              *              *              *

Dated: July 11, 2018                         Respectfully submitted,

                                             JUDITH BENKERT, individually and on behalf of
                                             all others similarly situated,


                                             By: /s/ Steven L. Woodrow
                                             One of Plaintiff’s Attorneys

                                             Steven L. Woodrow
                                             swoodrow@woodrowpeluso.com
                                             Patrick H. Peluso
                                             ppeluso@woodrowpeluso.com
                                             Woodrow & Peluso, LLC
                                             3900 East Mexico Ave., Suite 300
                                             Denver, Colorado 80210
                                             Telephone: (720) 213-0675
                                             Facsimile: (303) 927-0809




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served upon its filing via this Court’s CM/ECF

system on this 11th day of July, 2018 to all counsel of record.

                                             /s/ Steven L. Woodrow




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